Case 1:17-cv-20372-KMW Document 13 Entered on FLSD Docket 03/24/2017 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   CRISTINA LABREAU,

          Plaintiff,

   v.                                                CASE NO.: 1:17-cv-20372-KMW


   SYNERGETIC COMMUICATIONS, INC.,

          Defendant.

  _____________________________________________________________________________

                             NOTICE OF PENDING SETTLEMENT




         PLAINTIFF, CRISTINA LABREAU, by and through her undersigned counsel, hereby

  submits this Notice of Settlement and states that Plaintiff, CRISTINA LABREAU, and Defendant,

  SYNERGETIC COMMUNICATIONS, INC., have reached a settlement with regard to this case

  and are presently drafting, finalizing, and executing the settlement and dismissal documents. Upon

  execution of same, the parties will file the appropriate dismissal documents with the Court.

                                                 /s/Amanda J. Allen, Esq.
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                                                 Attorney for Plaintiff
Case 1:17-cv-20372-KMW Document 13 Entered on FLSD Docket 03/24/2017 Page 2 of 2




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on March 24, 2017, the foregoing was served using the

  CM/ECF system, which will provide electronic notice of filing to all counsel of record.

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